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5    Attorney for Defendant SIAVASH POURSARTIP
6

7                    IN THE UNITED STATES DISTRICT COURT FOR THE
8                             EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                            Case No. 2:10-CR-305 LKK
10                         Plaintiff,                     STIPULATION AND ORDER FOR
                                                          CONTINUANCE OF STATUS
11           v.                                           CONFERENCE
12   SIAVASH POURSARTIP, et. al.
13                         Defendants.
14

15          It is hereby stipulated and agreed by and between the United States of America, on
16   the one hand, and defendants, Siavash Poursartip, and Sara Shirazi, on the other hand,
17
     through their respective attorneys, that the status conference in the above-entitled matter set
18
     for Tuesday September 17, 2013 shall be continued to Tuesday, February 25, 2014 at 9:15
19
     a.m.
20

21           The parties further stipulate and agree that the time period from the date of this

22   stipulation up to and including the new status conference date of February 25, 2014, shall

23   be excluded from computation of the time for commencement of trial under the Speedy
24
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2
25
     (unusual or complex case) and T4 (preparation by prosecution and defense counsel).
26
     The Court is aware that the indictment contains ten counts and a forfeiture allegation, that
27
     the acts alleged in the indictment span from 2004 through 2009 and that the discovery is
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     STIPULATION AND ORDER FOR CONTINUANCE OF STATUS CONFERENCE
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1    quite voluminous. Defendant SARA SHIRAZI was operated on last year, but has been
2    having complications of that surgery. She is still under the care of her neurosurgeon at
3
     Stanford Hospital, and her neurologist, has swelling in her brain, is heavily medicated and
4
     though she has been able to return to work, she cannot drive and still has continuous
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     headaches. Further, the defense has received some new discovery that was requested from
6

7    the government and continues to review and investigate the case. Based upon these facts,

8    the parties stipulate and agree that it is unreasonable to expect adequate preparation for
9    pretrial proceedings and trial itself within the time limits established in § 3161, the case is
10
     unusual or complex within the meaning of the Speedy Trial Act, and the requested
11
     continuance is necessary to serve the ends of justice and to provide both the prosecution and
12
     defense counsel reasonable time necessary for effective preparation, taking into account the
13

14   exercise of due diligence. 18 U.S.C. §3161(h)(7)(A) and (B)(ii) and (iv). Specifically, each

15   defendant agrees that his or her counsel needs additional time to review the discovery that

16   has been provided, to effectively evaluate the case and to prepare for trial. See id.
17   Additionally, the parties hereby stipulate that this case is unusual and complex such that it is
18
     unreasonable to expect adequate preparation for pretrial proceedings or for a potential trial
19
     within the time limits established by the Speedy Trial Act.
20
           For the above reasons, the defendants, defense counsel and the government stipulate
21

22   and agree that the interests of justice served by granting this continuance outweigh the best

23   interests of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(ii),
24   [Local Code T2]; 18 U.S.C.§ 3161(h)(7)(B)(iv) [Local Code T4].
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     STIPULATION AND ORDER FOR CONTINUANCE OF STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 97 Filed 09/13/13 Page 3 of 4


1    Dated: September 10, 2013
                                                          BENJAMIN B. WAGNER
2                                                         UNITED STATES ATTORNEY
3                                                         By:/s/ Richard Pachter
                                                          For: Philip Ferrari
4                                                         Assistant U. S. Attorney
                                                          (per email authorization)
5
     Dated: September 10, 2013                            /s/Richard Pachter
6                                                         For: CHRISTOPHER H. WING
                                                          Attorney for Defendant SARA SHIRAZI
7                                                         (per email authorization)
8

9    Dated: September 10, 2013                             /s/ Richard Pachter
                                                           RICHARD PACHTER
10                                                         Attorney for Defendant SIAVASH
                                                           POURSARTIP
11

12
                                                 ORDER
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             The Court, having received, read and considered the stipulation of the parties, and
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     good cause appearing therein, adopts the stipulation of the parties in its entirety as its order.
15
     Based upon the stipulation of the parties, the Court finds that it is unreasonable to expect
16   adequate preparation for pretrial proceedings and trial itself within the time limits
17   established in 18 U.S.C. § 3161 and that the case is unusual and complex within the
18   meaning of the Speedy Trial Act and that Defendant Shirazi’s medical situation reinforces

19   this finding. The Court specifically finds that the interests of justice served by granting this
     continuance outweigh the best interests of the public and the defendants in a speedy trial.
20
     The Court also finds that the requested continuance is necessary to provide both the
21
     prosecution and the defense counsel reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence. It is ordered that the time from the date of
23   the parties’ stipulation to and including February 25, 2014 shall be excluded from
24   computation of time within which the trial of this case must be commenced under the

25   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (ii) and (iv) and Local
     Codes T2 (unusual and complex case) and T4 (preparation by both prosecution and defense
26
     counsel.)
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     STIPULATION AND ORDER FOR CONTINUANCE OF STATUS CONFERENCE
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1         It is further ordered that the status conference in the above-entitled matter set for
2    September 17, 2013 shall be continued to February 25, 2014 at 9:15 am.

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         IT IS SO ORDERED.
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6    Dated: September 13, 2013

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     STIPULATION AND ORDER FOR CONTINUANCE OF STATUS CONFERENCE
